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                     UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF TEXAS
                          BEAUMONT DIVISION



   Bruce Cohn,


                 Plaintiff,                  Case No. 1:24-cv-00337


         v.


   Anna Popescu, TrustHFTwallet.com,         Plaintiff’s Motion for
   and John Does 1 – 20,                     Preliminary Injunction


                 Defendants.



        Plaintiff Bruce Cohn hereby requests that the Court enter a

  preliminary injunction extending the relief granted in the extant Temporary

  Restraining Order. In support, he respectfully shows the Court the following.

        I.     Preliminary Statement

        The Defendants are foreign cybercriminals who stole assets worth

  more than $2.4 million from the Mr. Cohn in a pig-butchering scam. On

  August 16, 2024, the Court entered a Temporary Restraining Order freezing

  the Defendants’ assets. Since that time, for the reasons set out below, the

  evidence that the Defendants are in fact pig-butchering scammers has only

  grown stronger. Mr. Cohn respectfully requests that the Court issue a

  preliminary injunction extending the asset freeze through trial, with certain

  modifications described below.

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        II.    Evidence Submitted

        Mr. Cohn submits the following evidence in support of this Motion.

        Exhibit 1: Bruce Cohn Declaration. Mr. Cohn is the Plaintiff in this

  matter. His Declaration describes the TrustHFTwallet scam and provides

  relevant documentary evidence.

        Exhibit 2: Even Cole Declaration. Evan Cole is a certified blockchain

  investigator and the founder of Digital Investigations, LLC. His declaration

  (i) shows that the Defendants are, in fact, a syndicate of foreign

  cybercriminals and (ii) describes the pig-butchering epidemic.

        Exhibit 3: Hoda Declaration. Marshal Hoda is counsel to Mr. Cohn in

  this matter. His declaration provides documentary evidence showing that the

  Defendants received notice of the upcoming injunction hearing.

        III.   Factual Allegations

        Mr. Cohn’s Verified Complaint and his prior motion for the extant TRO

  detailed his allegations against the Defendants. This Motion will avoid

  repetition, insofar as possible, by focusing on the evidence submitted in

  support of this Motion and recent developments.

               A.    The Scam

        The Defendants are a syndicate of foreign cybercriminals who stole

  over $2.4 million from Mr. Cohn in a pig-butchering scam. The declaration of

  Bruce Cohn recounts the TrustHFTwallet scam.1 It attaches evidence



        1 Ex. 1, Declaration of Bruce Cohn (hereafter, “Cohn Decl.”), passim.


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  showing each stage of the scam from his perspective—from the initial contact

  through a dating app, to trust-building conversations on WhatsApp, to fake

  trades and false profits on the TrustHFTwallet platform, to the scammers’

  demands that he increase his balance by millions to “unfreeze” his funds.

        The Cole Declaration explains why there is no doubt that the

  Defendants are, in fact, a syndicate of pig-butchering scammers. It does so by

  trenchantly comparing the Cohn Declaration to the paradigm that emerges

  from the most comprehensive academic study of the pig-butchering epidemic

  to date.2 The Cole Declaration also provides evidence showing this epidemic's

  shocking scope and toll.3

               B.    Blockchain Tracing

        Mr. Cohn engaged Nefture, a blockchain-analytics firm, to trace the

  assets stolen from him through the blockchain. Nefture’s blockchain analysis

  was fundamental to Mr. Cohn’s motion for the extant TRO. Mr. Cohn’s

  Declaration attaches that evidence once again, here, in support of his motion

  to extend the TRO through the issuance of a preliminary injunction.4

        IV.    Relief Sought

        Mr. Cohn seeks preliminary injunction extending the freeze of the

  exchange accounts that received the assets stolen from him through trial,



        2 Ex. 2, Declaration of Evan Cole (hereafter, “Cole Decl.”), ¶¶ 5 – 17

  (comparing Cohn Declaration with leading academic paper).
        3 Ex. 2, Cole Decl., ¶¶ 18 – 23.

        4 Ex. 1, Cohn Decl., Att. F (Nefture Report).


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  with one deviation. As reflected in the proposed order submitted with this

  Motion, Mr. Cohn does not seek to extend the preliminary injunction as to the

  Kraken account identified in the TRO.

        The standard for issuance of a preliminary injunction has both

  procedural and substantive aspects. The balance of this Motion will explain

  why Mr. Cohn has satisfied these requirements.

                1.    Mr. Cohn provided the Defendants notice of the injunction
                      hearing and this Motion.

        Under the Federal Rules, “the court may issue a preliminary injunction

  only on notice to the adverse party.”5 This rule “does not require service of

  process, but rather requires notice to the adverse party.”6 As the Eleventh

  Circuit recently noted, “there is a reason Rule 65 allows emergency injunctive

  relief before service of process.”7 Holding that a preliminary injunction could

  not issue “before service of process on a defendant abroad would mean that

  plaintiffs could not obtain initial relief from impending or ongoing harm …

  for months or even years as the Hague Convention service or alternative

  service process unfolded.”8




        5 FED R. CIV. P. 65(a)(1).

        6 Whirlpool Corp. v. Shenzhen Sanlida Elec. Tech. Co., Ltd., 80 F.4th

  536, 542 (5th Cir. 2023) (quoting Corrigan Dispatch Co. v. Casa Guzman,
  S.A., 569 F.2d 300, 302 (5th Cir. 1978)).
        7 Sec. & Exch. Comm’n v. MCC Int’l Corp., No. 22-12281, 2024 WL

  1508281, at *2 (11th Cir. Apr. 8, 2024).
        8 Id.


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        Mr. Cohn’s counsel provided written notice of the upcoming

  preliminary-injunction hearing to the Defendants on September 6, 2024. He

  did so by (i) emailing Anna Popescu’s email address, (ii) sending a WhatsApp

  message to Anna Popescu’s account, and (iii) sending notice through the

  customer-service chat on trusthftwallet.com.9

               2.     Mr. Cohn has met the substantive requirements for
                      issuance of a preliminary injunction.

        To obtain a preliminary injunction, the movant must show (1) a

  substantial likelihood of success on the merits, (2) a substantial threat of

  irreparable harm if the injunction does not issue, (3) that the threatened

  injury outweighs any harm that will result if the injunction is granted, and

  (4) that the grant of an injunction is in the public interest.10 Mr. Cohn has

  met these requirements for the reasons set out below.

        Element 1: The Merits. Mr. Cohn alleges that the Defendants are liable

  for (1) violations of the Racketeering Influenced and Corrupt Organizations

  Act (“RICO”), (2) conversion, and (3) fraud. He is likely to succeed on the

  merits of each of these claims.11




        9 Ex. 3, Declaration of Marshal Hoda (hereafter “Hoda Decl.”), at ¶ 3

  (describing notice provided and attaching evidence).
        10 Moore v. Brown, 868 F.3d 398, 402-03 (5th Cir. 2017).

        11 While venue is proper in this Court pursuant to 28 U.S.C. §
  1391(c)(3), Mr. Cohn is a resident of California. The Court should thus apply
  California law to Mr. Cohn’s common-law conversion and fraud claims.

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        RICO Claim. To recover on a civil RICO claim, a plaintiff must show

  (1) a violation of 18 U.S.C. § 1962 (a “RICO violation”), (2) an injury to his

  business or property, and (3) that the RICO violation caused this injury.12 To

  prove a RICO violation, a plaintiff must show that the defendant is (1) a

  person13 who engaged in (2) a pattern14 of racketeering activity,15 (3)

  connected to the acquisition, establishment, conduct, or control of an

  enterprise.16

        Mr. Cohn’s RICO claim is likely to succeed. The Cohn Declaration

  details the Defendants’ scam and provide documentary evidence showing how

  that scam unfolded.17 The Cole Declaration, in turn, explains why there is no

  doubt that the Defendants are a syndicate of professional cybercriminals.18




        12 Lewis v. Danos, 83 F.4th 948, 956 (5th Cir. 2023).

        13 A RICO “person” is “any individual or entity capable of holding a

  legal or beneficial interest in property.” 18 U.S.C. § 1961.
        14 A “pattern of racketeering activity requires at least two acts of
  racketeering activity, one of which occurred after the effective date of this
  chapter and the last of which occurred within ten years (excluding any period
  of imprisonment) after the commission of a prior act of racketeering activity.”
  18 U.S.C. § 1961(5).
        15 “Racketeering activity” includes acts indictable under 18 U.S.C. §

  1341 (relating to mail fraud) and § 1343 (relating to wire fraud). 18 U.S.C. §
  1961(1)(B).
        16 An enterprise is “a group of persons or entities associating together

  for the common purpose of engaging in a course of conduct.” Whelan v.
  Winchester Prod. Co., 319 F.3d 225, 229 (5th Cir. 2003) (defining enterprise
  and recounting elements).
        17 Ex. 1, Cohn Decl., passim.

        18 Ex. 2, Cole Decl., ¶¶ 5 – 17.


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  These declarations show that the TrustHFTwallet scam was the very

  definition of an enterprise created solely to perpetrate a pattern of wire fraud

  on a global scale. At least one court has issued a default judgment approving

  a civil RICO claim in a crypto-fraud case functionally identical to this one.19

           Conversion Claim. To prevail on a conversion claim, a plaintiff must

  show “(1) [their] ownership or right to possession of the property; (2) the

  defendant’s conversion by a wrongful act or disposition of property rights; and

  (3) damages.”20

           Mr. Cohn’s conversion claim is likely to succeed. The Cohn Declaration

  and the Cole Declaration show that the Defendants acted intentionally, that

  their scheme was wrongful, and that they took control of Mr. Cohn’s assets

  and have not returned them. Numerous courts have found that plaintiffs were

  likely to succeed on conversion claims in cryptocurrency-related fraud cases.21



           19 Order on Motion for Final Default Judgment, Sun v. Defendant 1,

  No. 1:23-cv-21855 (S.D. Fla. Dec. 8, 2023), pp. 3-4 (“The allegations in
  Plaintiff’s Amended Complaint, admitted by default, establish each element
  of a RICO § 1962(c) violation. Specifically, Plaintiff alleges that Defendant
  and her co-conspirators operate a sophisticated global internet
  cryptocurrency fraud and conversion scheme …”).
           20 Welco Elecs., Inc. v. Mora, 223 Cal. App. 4th 202, 208 (Cal. Ct. App.

  2014).
           21See, e.g., Bullock v. Doe, No. 23-CV-3041 CJW-KEM, 2023 WL
  9503380, at *5 (N.D. Iowa Nov. 3, 2023) (“Because the claim underlying this
  request [for an asset-freeze TRO] is mainly conversion—i.e., defendants have
  plaintiff's property wrongfully—plaintiff's likelihood of success on the merits
  of this claim suffice for this factor to weigh in favor of plaintiff and the Court
  need not discuss the further causes of action.”); Yogaratnam v. Dubois, No.
  CV 24-393, 2024 WL 758387, at *4 (E.D. La. Feb. 23, 2024) (“It appears from
  the record that Defendants have no right to claim either possession or
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        Fraud Claim. To prevail on a fraud claim, a plaintiff must show that

  the defendant made (1) a false representation, (2) of a matter of material fact,

  (3) with knowledge of its falsity, (4) for the purpose of inducing action thereon,

  and (5) that the plaintiff relied upon the representation as true and acted

  upon it to his or her damage.22

        Mr. Cohn’s fraud claim is likely to succeed. Again, the Cohn

  Declaration and the Cole Declaration show that the Defendants intentionally

  and falsely represented that they would use Mr. Cohn’s assets for “trading”

  cryptocurrency for profit. They intended for these lies to induce Mr. Cohn to

  transfer his assets, which he ultimately did. These lies were material, and

  Mr. Cohn acted on them to his detriment.23

        Element 2: Irreparable Harm. Allowing the asset freeze to dissolve

  would cause irreparable harm. Cybercriminals like the Defendants can and

  do move crypto assets from address to address in mere seconds, with the click

  of a button.24 And while courts can order the freezing and disgorgement of

  crypto assets held at exchange-based addresses, most assets held in “self-

  custody” or at non-compliant exchanges are beyond the effective reach of such


  ownership of the stolen assets, and Defendants’ taking of the funds is clearly
  inconsistent with Plaintiff's rights of ownership.”).
        22 City of Indus. v. City of Fillmore, 198 Cal. App. 4th 191 (2011), as

  modified (Aug. 24, 2011).
        23 Complaint, ¶¶ 13 – 17; Ex. 2, Cole Decl., ¶¶ 3 – 5.

        24 Ex. 2, Cole Decl., at ¶ 24 (explaining the risk of irreparable harm in

  cryptocurrency-related fraud cases and providing leading academic study
  illustrating these risks).

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  orders.25 Thus, the tracing of Mr. Cohn’s assets to the Receiving Exchanges

  provides a unique and fleeting opportunity to restrain further dissipation

  while Mr. Cohn identifies and serve the Defendants. Courts have consistently

  recognized that these features of blockchain technology justify the issuance

  of ex parte freezing orders in crypto-fraud cases.26

        Element 3: Balancing. The threatened injury to Mr. Cohn outweighs

  any damage a freezing order might cause to the Defendants. Mr. Cohn has

  lost millions, and the order he seeks is his only hope of preserving some assets

  for recovery. And while an asset freeze might cause temporary inconvenience

  to the restrained persons, any restraint implemented can be undone should

  future developments require.27 In addition, the Defendants have received



        25 Id.

        26 See, e.g., Ohlin v. Defendant 1, No. 3:23-C-8856-TKW-HTC, 2023 WL

  3676797, at *3 (N.D. Fla. May 26, 2023) (“Considering the speed with which
  cryptocurrency transactions are made as well as the anonymous nature of
  those transactions, it is imperative to freeze the Destination Addresses to
  maintain the status quo to avoid dissipation of the money illegally taken from
  Plaintiffs.”); Jacobo v. Doe, No. 1:22-CV-00672DADBAKBAM, 2022 WL
  2052637, at *3 (E.D. Cal. June 7, 2022) (“Because it would be a simple matter
  for [defendant] to transfer [the] cryptocurrency to unidentified recipients
  outside the traditional banking system and effectively place the assets at
  issue in this matter beyond the reach of the court, the court finds that plaintiff
  is likely to suffer immediate and irreparable harm in the absence of injunctive
  relief.”) (cleaned up); Astrove v. Doe, No. 1:22-CV-80614-RAR, 2022 WL
  2805315, at *3 (S.D. Fla. Apr. 22, 2022) (same).
        27 See, e.g., Licht, 2023 WL 4504585, *3 (balancing factor weighed in

  plaintiff’s favor because alleged crypto-thieves faced only “inconvenience” of
  asset-freeze, which could be undone); Jacobo, 2022 WL 2052637, at *6 (same,
  finding “[a] delay in defendant’s ability to transfer the [allegedly stolen]
  assets only minimally prejudices defendant, whereas withholding injunctive
  relief would severely prejudice plaintiff by providing defendant time to
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   notice of this proceeding via the same channels they used to communicate

   with Mr. Cohn.28 They can contest the issuance of the injunction at the

   upcoming hearing or seek to have the injunction dissolved at any point before

   final judgment.

          Element 4: Public Interest. A freezing order will serve the public

   interest because it will “dissuade would-be fraudsters from stealing,

   laundering illegal proceeds, and preying on Americans” like Mr. Cohn.29 It

   will also “prevent the Defendants from profiting from their scheme, ensuring

   they lack resources and incentives to perpetrate similar schemes in the

   future,”30 and “provide[] assurance to the public that courts will take action

   to promote … recovery of stolen assets when they can be readily located and

   traced to specific locations.”31

          In this case, the public interest weighs particularly heavily in favor of

   the requested injunction. As detailed in the Cole Declaration, the devastation

   wrought by the pig-butchering epidemic is breathtaking. The FBI estimates

   that in 2023 alone, pig-butchering scammers stole nearly $4 billion from tens



   transfer the allegedly purloined assets into other accounts beyond the reach
   of this court”).
          28 Ex. 3, Hoda Decl., ¶¶ 3 – 4.

          29 Licht, 2023 WL 4504584, at *3.

          30   Id.
          31 Jacobo, 2022 WL 2052637, at *6 (quoting Heissenberg, 2021 WL
   8154531, at *2); see also, e.g., Gaponyuk, 2023 WL 4670043, at *3 (finding
   that asset freeze would “serve the public’s interest in stopping, investigating,
   and remedying frauds”).

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   of thousands of American victims.32 CNN has noted that this is “theft at a

   scale so large that investigators are now calling it a mass transfer of wealth

   from middle-class Americans to criminal gangs.”33 The public interest

   overwhelmingly favors preserving victims’ only potential source of recovery

   through the issuance of preliminary injunctive relief.

                  3.   The Court has the authority to issue the asset-freezing
                       injunction Mr. Cohn seeks.

         Typically, a court may issue an order freezing a defendant’s assets only

   after a plaintiff has brought his claims to judgment.34 This rule does not

   apply, however, where the plaintiff seeks equitable relief and a constructive

   trust over traceable stolen assets.35 Mr. Cohn seeks just such relief here.36

   For that reason, the Court has the authority to issue the asset-freezing

   injunction Mr. Cohn seeks.




         32 Ex. 2, Cole Decl., ¶ 22.

         33 Id.

         34 Grupo Mexicano de Desarrollo S.A. v. Alliance Bond Fund, Inc., 527

   U.S. 308, 322 (1999).
         35 See, e.g., Yogaratnam v. Dubois, No. CV 24-393, 2024 WL 758387, at

   *3 (E.D. La. Feb. 23, 2024) (issuing asset-freeze TRO in crypto-fraud case,
   noting that “numerous district courts … have issued a TRO in this exact
   circumstance to freeze a cryptocurrency asset,” and collecting cases); Jacobo,
   2022 WL 2052637, at *3 (issuing asset-freezing TRO where plaintiff sought
   constructive trust over allegedly stolen assets); Gaponyuk, 2023 WL 4670043,
   at *2 (same).
         36 Complaint, ¶ 33; Ex. 1, Cohn Decl., Att. F (showing tracing of Cohn

   assets to receiving addresses).

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                4.     The Court should not require a bond.

         Rule 65(c) provides that a court issuing a preliminary injunction should

   do so “only if the movant gives security in an amount that the court considers

   proper to pay the costs and damages sustained by any party found to have

   been wrongfully enjoined or restrained.”37 Yet, “[c]ourts retain extensive

   discretion to set the amount of a bond required as a condition for issuing a

   preliminary injunction and may, in fact, elect to require no bond at all.”38 The

   Defendants will not suffer any damages due to the requested asset freeze,

   which—as explained above—can be undone at any time if the Defendants

   choose to appear and challenge the injunction. Mr. Cohn thus requests that

   the Court decline to impose a bond.

         V.     Conclusion

         For the reasons set out above, Mr. Cohn has met the standards for

   issuance of a preliminary injunction. He requests that the Court issue this

   relief in the form of the proposed order submitted with this Motion.




         37 FED. R. CIV. P. 65(c).

         38 Astrove, 2022 WL 2805345, at *5 (declining to require bond in crypto-

   theft case); Jacobo, 2022 WL 2052637, at *6 (same).

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    Dated: September 9, 2024                Respectfully submitted,

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